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 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,         )       CASE NO. 1:07-CR-91 LJO
11                                     )
                Plaintiffs,            )   STIPULATION AND ORDER
12                                     )   TO ALLOW DEFENDANT OUT OF
     vs.                               )   STATE TRAVEL FOR VISITATION
13                                     )   WITH PARENTS AND DAUGHTER
                                       )
14   ANDREA KATHLEEN SIMPSON,          )
                                       )
15              Defendants.            )
                                       )
16
17         IT IS HEREBY STIPULATED by and between defendant ANDREA
18   KATHLEEN SIMPSON, through her attorney, ROBERT L. FORKNER
19   and plaintiff United States of America, through its counsel
20   of record, Assistant United States Attorney KATHLEEN ANNE
21   SERVATIUS, stipulate and agree to the following:
22         1.   Defendant ANDREA KATHLEEN SIMPSON may travel out of
23   state, leaving by car on December 20, 2007 and return by
24   plane on January 4, 2008 for visitation with her parents and
25   daughter.
26         2.   Defendant will stay with parents throughout the
27
28                                         1
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 1   entire visit at 113 Dames Avenue, Gallatin, Tennessee,
 2   37066-6056.        Parents phone number is (615) 989-1281.
 3            Pretrial services officer Kim Dalton has been advised
 4   and has no objections.
 5
 6   DATED: December 7, 2007               /s/ Robert L. Forkner
                                          ROBERT L. FORKNER
 7                                        Attorney for Defendant
                                          Andrea Kathleen Simpson
 8
 9   DATED: December 7, 2007               /s/ Kathleen Anne Servatius
                                          KATHLEEN ANNE SERVATIUS
10                                        Assistant US Attorney
11
12
13
                                          ORDER
14
15            IT IS SO ORDERED that the defendant may travel out of
16   state leaving by car on December 20, 2007 and return by
17   plane on January 4, 2008, and stay with parents throughout
18   the entire visit at 113 Dames Avenue, Gallatin, Tennessee,
19   37066-6056.
20
21
     IT IS SO ORDERED.
22
     Dated:     December 7, 2007             /s/ Lawrence J. O'Neill
23   b9ed48                              UNITED STATES DISTRICT JUDGE
24
25
26
27
28                                           2
